                  Case 2:16-cv-01041-TSZ Document 156 Filed 04/01/22 Page 1 of 3




                                                                              Honorable Thomas S. Zilly
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 7                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                       WESTERN DISTRICT OF WASHINGTON
 8                                              SEATTLE DIVISION
 9

10    UNITED STATES OF AMERICA,              )
                                             )                  Case No. 2:16-cv-1041-TSZ
11             Plaintiff,                    )
                                             )                  STATUS REPORT
12             v.                            )
                                             )
13
      DAVID A. GOULD, et al.,                )
14                                           )
               Defendants.                   )
15    _______________________________________)
16

17              The United States hereby submits this status report pursuant to the Court’s Order of

18   March 10, 2020 (Dkt. 136). That Order stayed this action to allow for progress on settlement

19   efforts.

20              Counsel for the United States continues to communicate with counsel for Defendant Jane

21   Polinder to reach agreement on Ms. Polinder’s tax liabilities for the relevant years. This past

22   month, the United States’ counsel arranged for a qualified official at the IRS to review

23   information that Ms. Polinder recently provided. The United States remains hopeful that the

24   parties will reach a resolution to the outstanding issues within approximately one month.

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      STATUS REPORT                                                         U.S. DEPARTMENT OF JUSTICE
      Case No. 2:16-cv-1041-TSZ
                                                  1
                                                                            Tax Division, Western Region
                                                                            P.O. Box 683
                                                                            Washington, D.C. 20044
                                                                            Telephone: 202-514-6062
                  Case 2:16-cv-01041-TSZ Document 156 Filed 04/01/22 Page 2 of 3




 1   Dated: April 1, 2022                          Respectfully submitted,
 2                                                 DAVID HUBBERT
 3                                                 Deputy Assistant Attorney General

 4                                                 /s/ Charles J. Butler
                                                   CHARLES J. BUTLER
 5                                                 Trial Attorney, Tax Division
                                                   U.S. Department of Justice
 6
                                                   P.O. Box 683
 7                                                 Washington, D.C. 20044
                                                   202-514-6062 (v)
 8                                                 202-307-0054 (f)
                                                   Charles.J.Butler@usdoj.gov
 9
                                                   Of Counsel:
10
                                                   NICHOLAS W. BROWN
11                                                 United States Attorney
                                                   Western District of Washington
12
                                                   Counsel for the United States of America
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      STATUS REPORT                                               U.S. DEPARTMENT OF JUSTICE
      Case No. 2:16-cv-1041-TSZ
                                           2
                                                                  Tax Division, Western Region
                                                                  P.O. Box 683
                                                                  Washington, D.C. 20044
                                                                  Telephone: 202-514-6062
                  Case 2:16-cv-01041-TSZ Document 156 Filed 04/01/22 Page 3 of 3




 1                                      CERTIFICATE OF SERVICE
 2             I hereby certify that on April 1, 2022, I filed the foregoing with the Clerk of Court using
 3   the CM/ECF system, which will provide electronic notice to all parties that have appeared in this
 4   action.
 5

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 8
                                                             s/ Charles J. Butler
 9                                                           CHARLES J. BUTLER
                                                             Trial Attorney, Tax Division
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                                                             U.S. Department of Justice
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      STATUS REPORT                                                          U.S. DEPARTMENT OF JUSTICE
      Case No. 2:16-cv-1041-TSZ
                                                 3
                                                                             Tax Division, Western Region
                                                                             P.O. Box 683
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                                                                             Telephone: 202-514-6062
